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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

VOIP-PAL.COM, INC.                §
                                  §
v.                                §                 CIVIL ACTION 6:21-cv-665[ADA]
                                  §
FACEBOOK, INC. and WHATSAPP, INC. §

              NOTICE OF AGREED EXTENSION TO FILE REPLY BRIEF

       Defendants Facebook, Inc. and WhatsApp, Inc.1 (“Defendants”) hereby notify the Court

that Plaintiff Voip-Pal, Inc. has agreed to extend the deadline for Defendants to file their reply

brief to their Motion to Dismiss Voip-Pal’s First Amended Complaint [Dkt. 25] for three days, up

to and including November 5, 2021.

Dated: November 1, 2021                      Respectfully submitted,

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1
       Effective October 28, 2021, named defendant Facebook, Inc. changed its name to Meta
Platforms, Inc. Also, as previously noted at Dkt. 20, named defendant WhatsApp, Inc. changed
its name to WhatsApp LLC effective January 1, 2021.
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 1, 2021 all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via email

pursuant to Local Rule CV-5(b)(1).


                                                   /s/ Joshua Glucoft
                                                   Joshua Glucoft
